                                 Case 3:18-bk-03184-CJJ                      Doc 19         Filed 09/03/18        Page 1 of 66

Fill in this information to identify your case and this filing:


Debtor 1          Asbel                  P                     Viciedo
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Middle District of Florida
United States Bankruptcy Court for the: ______________________________________

Case number         9:18-bk-06560-FMD
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X    Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 4275   NW 24th Ave
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          1,585,200.00
                                                                                                                   $________________         1,585,200.00
                                                                                                                                            $_______________
                                                                     Investment property
             Boca  Raton Florida             33431
             _________________________________________
                                                                     Timeshare                                    Describe the nature of your ownership
             City                        State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   Tenancy  by the Entirety
                                                                                                                   __________________________________________
             Palm  Beach                                         Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                 X At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


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                             Case 3:18-bk-03184-CJJ                          Doc 19         Filed 09/03/18             Page 2 of 66
Debtor 1       Asbel        P                Viciedo
               _______________________________________________________                                                       9:18-bk-06560-FMD
                                                                                                       Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  1,585,200.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   X No
    Yes

           Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
                                    Case 3:18-bk-03184-CJJ                                    Doc 19              Filed 09/03/18                     Page 3 of 66
Debtor 1           Asbel        P               Viciedo
                   _______________________________________________________                                                       Case number (if known)9:18-bk-06560-FMD
                                                                                                                                                       _____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
                                       Case 3:18-bk-03184-CJJ                                          Doc 19                Filed 09/03/18                         Page 4 of 66
Debtor 1            Asbel        P                Viciedo
                    _______________________________________________________
                    First Name            Middle Name                  Last Name
                                                                                                                                              Case number (if known)9:18-bk-06560-FMD
                                                                                                                                                                    _____________________________________




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X    Yes. Describe. ........          See Attachment 1                                                                                                                                            24,180.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... Home Office Computers, Monitors and Printer                                                                                                                        $___________________
                                                                                                                                                                                                     1,700.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
   
   X Yes. Describe. ......... Framed Family Photos                                                                                                                                                   540.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
   
   X    Yes. Describe. ......... Sports and Exercise                                                                                                                                                 410.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........Misc. Everyday Clothing                                                                                                                                             765.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   X    No
       Yes. Describe. ..........                                                                                                                                                                   $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                     27,595.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
                                         Case 3:18-bk-03184-CJJ                                                   Doc 19                    Filed 09/03/18                           Page 5 of 66
Debtor 1            Asbel        P                Viciedo
                    _______________________________________________________                                                                                                          9:18-bk-06560-FMD
                                                                                                                                                               Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              Bank of America
                                                                                                  _________________________________________________________                                                            20,000.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

    No                                      Name of entity:                                                                                                                         % of ownership:
   
   X Yes. Give specific                      Only Used Trucks Lakeland, LLC
                                             _____________________________________________________________________ 100
                                                                                                                   ___________%                                                                                        Fair Market Value
                                                                                                                                                                                                                      $__________________
       information about
       them. ........................        Only Used Trucks Broward, LLC
                                             _____________________________________________________________________ 100
                                                                                                                   ___________%                                                                                       $__________________
                                                                                                                                                                                                                       Fair Market Value
                                             JAC  Holdings Group, LLC
                                             _____________________________________________________________________ 100
                                                                                                                   ___________%                                                                                        Fair Market Value
                                                                                                                                                                                                                      $__________________

                                                       See Attachment 2: Additional Non-Publically Traded Stocks and Interests in Incorporated and




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
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Debtor 1           Asbel        P                Viciedo
                   _______________________________________________________
                   First Name             Middle Name            Last Name
                                                                                                           Case number (if known)9:18-bk-06560-FMD
                                                                                                                                 _____________________________________




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                     Issuer name:
       information about
       them. ......................       ______________________________________________________________________________________               $__________________
                                          ______________________________________________________________________________________
                                                                                                                                               $__________________
                                          ______________________________________________________________________________________
                                                                                                                                               $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                       Institution name:

                                          401(k) or similar plan:   ___________________________________________________________________        $__________________

                                          Pension plan:             ___________________________________________________________________        $__________________

                                          IRA:                      ___________________________________________________________________        $__________________

                                          Retirement account:       ___________________________________________________________________        $__________________

                                          Keogh:                    ___________________________________________________________________        $__________________

                                          Additional account:       ___________________________________________________________________        $__________________

                                          Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                          Institution name or individual:

                                          Electric:             ______________________________________________________________________         $___________________
                                          Gas:                  ______________________________________________________________________         $___________________
                                          Heating oil:          ______________________________________________________________________         $___________________
                                          Security deposit on rental unit: _____________________________________________________________
                                                                                                                                               $___________________
                                          Prepaid rent:         ______________________________________________________________________
                                                                                                                                               $___________________
                                          Telephone:            ______________________________________________________________________
                                                                                                                                               $___________________
                                          Water:                ______________________________________________________________________
                                                                                                                                               $___________________
                                          Rented furniture:     ______________________________________________________________________
                                                                                                                                               $___________________
                                          Other:                ______________________________________________________________________
                                                                                                                                               $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................    Issuer name and description:
                                           _______________________________________________________________________________________             $__________________
                                          _______________________________________________________________________________________              $__________________
                                          _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                         Schedule A/B: Property                                                        page 6
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Debtor 1           Asbel        P                Viciedo
                   _______________________________________________________                                     Case number (if known)9:18-bk-06560-FMD
                                                                                                                                     _____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X   No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
                                       Case 3:18-bk-03184-CJJ                                          Doc 19                Filed 09/03/18                         Page 8 of 66
Debtor 1            Asbel        P                Viciedo
                    _______________________________________________________
                    First Name            Middle Name                  Last Name
                                                                                                                                              Case number (if known)9:18-bk-06560-FMD
                                                                                                                                                                    _____________________________________




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       20,000.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
                                          Case 3:18-bk-03184-CJJ                                       Doc 19                Filed 09/03/18                         Page 9 of 66
Debtor 1            Asbel        P                Viciedo
                    _______________________________________________________                                                                   Case number (if known)9:18-bk-06560-FMD
                                                                                                                                                                    _____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
                                             Case 3:18-bk-03184-CJJ                                         Doc 19                 Filed 09/03/18                          Page 10 of 66
 Debtor 1              Asbel        P               Viciedo
                       _______________________________________________________
                       First Name             Middle Name                   Last Name
                                                                                                                                                      Case number (if known)9:18-bk-06560-FMD
                                                                                                                                                                            _____________________________________




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      1,585,200.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    0.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               27,595.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           20,000.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             47,595.00
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  47,595.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        1,632,795.00
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
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                                              Attachment
                           Debtor: Asbel P Viciedo Case No: 9:18-bk-06560-FMD


Attachment 1
     Dinning Room; Living Room; Family Room; Kids Playroom; Guest Room; Kids Room 1; Kids Room 2; Kids Room 3; Washer/Dryer; Upper
     Level Landing; Staircase Light fixtures; Office Furniture; Outdoor Patio; Holiday Decorations; Luggage; Garage Refrigerator; Kitchen
Attachment 2: Additional Non-Publically Traded Stocks and Interests in Incorporated and Unincorporated Businesses
     100% interest in Alchemist Capital Holdings, LLC
     Value: Fair Market Value

     100% interest in MBV Holdings, LLC
     Value: Fair Market Value

     100% interest in Only Used Trucks Jacksonville.com, LLC
     Value: Fair Market Value

     100% interest in Only Used Trucks Service Center, LLC
     Value: Fair Market Value

     100% interest in Hammerhead Motors, LLC
     Value: Fair Market Value

     100% interest in A.P.V Trust, LLC
     Value: Fair Market Value

     100% interest in Nutuwood, LLC
     Value: Fair Market Value
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Dining Room                                    # of Items       Per unit         Market Value
6 chairs                                                    6               50             300
 table                                                      1              250             250
 picture in frame                                           1               50              50
 feather hats                                               5               10              50
light fixture                                               1              100             100
Curtain                                                     1               50              50
RUGS                                                        2              100             200
                                                                                         1000

Living Room
Sofas                                                       2              200            400
Side Chairs                                                 4               50            200
Coffee Table                                                1              100            100
Mirror                                                      2              100            200
Light Fixtures                                              5              210           1050
Credenza                                                    2              200            400
End Table                                                   1              100            100
Curtains                                                    3              100            300
RUG                                                         1              200            200
Paintings                                                   2              150            300
                                                                                         3250
Family Room
Sofa                                                      1                600            600
Wall Unit                                                 1                500            500
TV                                                        1                400            400
Fan                                                       1                 75             75
Ottoman                                                   1                100            100
Wine Coolers                                              2                200            400
Glasses (drinking)                                        1                100            100
Speakers for TV                                           3                 60            180
DVD Player                                                1                 50             50
DVD'S                                                   100                  4            400
STEREO                                                    1                350            350
Paintings                                                 2                200            400
                                                                                         3555
KIDS PLAYROOM
TV                                                        1                100            100
KIDS TABLE                                                1                 50             50
KIDS CHAIRS                                               4                 20             80
RUG                                                       1                100            100
BOOKS                                                   200                  2            400
KIDS TOYS                                                                                 500
FAN                                                         1               50             50
                                                                                         1280
MASTER BEDROOM
BED                                                         1              500            500
                Case 3:18-bk-03184-CJJ   Doc 19   Filed 09/03/18   Page 13 of 66


END TABLES                                          2        100           200
LAMPS                                               2         25            50
FAN                                                 1        100           100
TV                                                  1        200           200
PICTURES ON WALL                                    4         20            80
CREDENZA                                            1        100           100
                                                                          1230
GUEST ROOM
BED                                                 1        300           300
END TABLES                                          2        100           200
LAMPS                                               2         35            70
FAN                                                 2        100           200
PICTURES ON WALL                                    6         35           210
CREDENZA                                            1        200           200
CHAIRS                                              2        150           300
OTTOMANS                                            2         50           100
BUILT IN WALL UNIT                                  1        250           250
TV                                                  1         50            50
COMPUTER                                            1        150           150
PRINTER                                             1        100           100
CURTAINS                                            3        100           300
                                                                          2430
KIDS ROOM MV
BED                                                 1        300           300
END TABLES                                          2         50           100
LAMPS                                               1         35            35
FAN                                                 1        100           100
PICTURES ON WALL                                    3         30            90
DESK                                                1        200           200
CHAIRS                                              1        150           150
                                                                           975
KIDS ROOM BV
BED                                                 1        300           300
END TABLES                                          2         50           100
LAMPS                                               2         35            70
FAN                                                 1        100           100
PICTURES ON WALL                                    1        100           100
DESK                                                1        200           200
CHAIRS                                              1        150           150
STORAGE CUBES                                       1        150           150
                                                                          1170
KIDS ROOM VV
BED                                                 1        150           150
CREDENZA                                            1         50            50
LAMPS                                               1         35            35
FAN                                                 1        100           100
PICTURES ON WALL                                    2         50           100
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                                                                               435
WASHER DRYER ROOM
WASHER                                                 1        200            200
DRYER                                                  1        200            200
STACKABLE WASHER/DRYER                                 1        200            200

UPSTAIRS LANDING
SOFA                                                   1        200            200
LOVE SEAT                                              1        150            150
OTTOMAN                                                1        100            100
RUG                                                    1         50             50
FAN                                                    1         50             50
KIDS BOOKS                                           200         2.5           500
TOYS                                                            500            500
BOOK CASE                                              1        100            100
                                                                              1650
STAIRCASE
FAMILY PICTURES                                       18         30            540
Light Fixtures                                         3        125            375

OFFICE
TABLE                                                  1        250            250
CHAIR                                                  1        100            100
PRINTER                                                1        300            300
COMPUTERS                                              2        400            800
MONITORS                                               6        100            600
SIDE TABLE                                             1         50             50

OUTSIDE
TABLE                                                  1        400            400
CHAIRS                                                 8        100            800
BAR B Q                                                1        250            250
FANS                                                   3        100            300
OUTDOOR LOVE SEATS                                     2        200            400
COFFEE TABLE                                           1         60             60
END TABLES                                             2         50            100
OUTDOOR DAY BED                                        1        100            100
TRAMPOLINE                                             1        300            300
KIDS SWING SET                                         1        250            250
                                                                              2960
Garage
Kids & adult bicycles                                  6                       100
Tennis Rackets                                         8                       160
Xmas ornaments                                         1                       500
Xmas Tree & lights                                     1                       200
Refrigerator                                           1                       250
Luggage                                                6                       300
                    Case 3:18-bk-03184-CJJ   Doc 19   Filed 09/03/18   Page 15 of 66


Eliptical Machine                                       1                      150

Kitchen
Refrigerator                                            1        400           400
Dishwasher                                              1        150           150
Microwave                                               1        150           150
Toaster                                                 1         25            25
Blender                                                 1         25            25
Coffee Maker                                            4         25           100
Pots and pans                                           1        300           300
Drawer Fridge                                           1        250           250
Steamer                                                 1        250           250
Waffle Maker                                            1        100           100
Panini Press                                            1        100           100
Light Fixtures                                          5        150           750
table                                                   1        150           150
Chairs                                                  2         50           100
                                                                              2850
My Personal Clothing
Shirts                                                 15         10           100
Pants and Jeans                                        10         10           100
Shoes                                                  10         15           150
Sneakers                                                2         10            20
Socks                                                  10          1            10
Underwear                                              10          1            10
Shorts                                                  5          5            25
Sports Jackets                                          3         20            60
T shirts                                               10          3            30
Suits                                                   2         20            40
Ties                                                   30          2            60
Tux                                                     1        100           100
Belts                                                   6         10            60
                                                                               765
                                  Case 3:18-bk-03184-CJJ               Doc 19             Filed 09/03/18            Page 16 of 66

 Fill in this information to identify your case:

 Debtor 1          Asbel P Viciedo
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Middle District of Florida
                                         _____________________________________________
                                          __________  District of __________

 Case number
  (If known)
                     9:18-bk-06560-FMD
                     ___________________________________________                                                                                     Check if this is an
                                                                                                                                                          amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     X You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

      Brief        Homestead                                                                                                   U.S.C. 11 § 522(b)(3)(B)
                                                                                                                               ____________________________
      description: _________________________
                                                           1,585,200.00
                                                          $________________             $ ____________                        ____________________________
      Line from                                                                        
                                                                                       X 100% of fair market value, up to      ____________________________
      Schedule A/B: 1.0                                                                   any applicable statutory limit      ____________________________
                    ______

      Brief        Dinning Room                                                                                                U.S.C. 11 § 522(b)(3)(B)
                                                                                                                               ____________________________
      description: _________________________
                                                           1,000.00
                                                          $________________               1,000.00
                                                                                       X $ ____________                        ____________________________
      Line from                                                                         100% of fair market value, up to      ____________________________
      Schedule A/B: 6
                    ______                                                                any applicable statutory limit       ____________________________

                   Living Room                                                                                                 U.S.C. 11 § 522(b)(3)(B)
      Brief                                                                                                                    ____________________________
      description:
                                                           3,250.00
                                                          $________________            
                                                                                       X $ 3,250.00
                                                                                           ____________                        ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                any applicable statutory limit       ____________________________
                    6

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
                                                                                                                                                                        __
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Debtor 1     Asbel P Viciedo
             _______________________________________________________                                               9:18-bk-06560-FMD
                                                                                             Case number (if known)_____________________________________
             First Name        Middle Name     Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        Family Room                                                                                         U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________             3,555.00
                                                       $________________         3,555.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: 6
                   ______                                                        any applicable statutory limit      ____________________________

     Brief        Kids Playroom                                                                                       U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________             1,280.00
                                                       $________________      
                                                                              X $ ____________
                                                                                  1,280.00                            ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        6
                          ______

     Brief        Master Bedroom                                                                                      U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        1,230.00
                                                       $________________         1,230.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______

     Brief        Guest Room                                                                                          U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        2,430.00
                                                       $________________         2,430.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: 6
                   ______                                                        any applicable statutory limit      ____________________________

     Brief        Kids Room 1                                                                                         U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        975.00
                                                       $________________         975.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        6______
     Brief        Kids Room 2                                                                                         U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        1,170.00
                                                       $________________         1,170.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______
                   6
     Brief        Kids Room 3                                                                                         U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        435.00
                                                       $________________         435.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                   6
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief        Washer/Dryer                                                                                        U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        600.00
                                                       $________________         600.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        6
                          ______

     Brief        Upper Level Landing                                                                                 U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        1,650.00
                                                       $________________         1,650.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
                   6
     Schedule A/B: ______

     Brief        Framed Family Photos                                                                                U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        540.00
                                                       $________________         540.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                   8
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief        Staircase Light fixtures                                                                            U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        375.00
                                                       $________________         375.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        6______
     Brief        Office Furniture                                                                                    U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description:
                                                        400.00
                                                       $________________         400.00
                                                                              X $ ____________                        ____________________________
                 _________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: 6
                   ______


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                     2 of 3__
                                                                                                                                                 page ___
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Debtor 1     Asbel P Viciedo
             _______________________________________________________                                               9:18-bk-06560-FMD
                                                                                             Case number (if known)_____________________________________
             First Name        Middle Name     Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        Home Office Computers,                                                                              U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: Monitors and Printer
                  _________________________
                                                        1,700.00
                                                       $________________         1,700.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: 7
                   ______                                                        any applicable statutory limit      ____________________________

     Brief        Outdoor Patio                                                                                       U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________             2,960.00
                                                       $________________      
                                                                              X $ ____________
                                                                                  2,960.00                            ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        6
                          ______

     Brief        Holiday Decorations                                                                                 U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        700.00
                                                       $________________         700.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: 6
                   ______

     Brief        Sports and Exercise                                                                                 U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        410.00
                                                       $________________         410.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: 9
                   ______                                                        any applicable statutory limit      ____________________________

     Brief        Luggage                                                                                             U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        300.00
                                                       $________________         300.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        6______
     Brief        Garage Refrigerator                                                                                 U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        250.00
                                                       $________________         250.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______
                   6
     Brief        Kitchen                                                                                             U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: _________________________
                                                        2,850.00
                                                       $________________         2,850.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                   6
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief        Misc. Everyday Clothing                                                                             Fla. Const., Art. 10, § 4(a)(2), FSA § 222.061
                                                                                                                      ____________________________
     description: _________________________
                                                        765.00
                                                       $________________         765.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        11
                          ______

     Brief        Checking Account with Bank of                                                                       U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
                  America
     description: _________________________
                                                        20,000.00
                                                       $________________         20,000.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
                   17.1
     Schedule A/B: ______

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                            ____________________________
     description:                                      $________________       $ ____________                        ____________________________
                    _________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                        3 of 3__
                                                                                                                                                    page ___
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Fill in this information to identify your case:

Debtor 1          Asbel P Viciedo
                  __________________________________________________________________
                    First Name                  Middle Name                      Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                  Middle Name                      Last Name


United States Bankruptcy Court for the: Middle District of Florida
                                        ______________________________________

Case number        9:18-bk-06560-FMD
                   ___________________________________________
(If known)                                                                                                                                                 Check if this is an
                                                                                                                                                              amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X      Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                             Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                      Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                  Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                           value of collateral.   claim                 If any

2.1                                                           Describe the property that secures the claim:                   1,145,797.00
                                                                                                                             $_________________  1,585,200.00 $____________
                                                                                                                                                $________________ N/A
      Specialized Loan Servicing
      ______________________________________
      Creditor’s Name
                                                          Homestead
      Attn: Bankruptcy Department
      ______________________________________
      Number            Street

                                                              As of the date you file, the claim is: Check all that apply.
      8742 Lucent Blvd #300
      ______________________________________
                                                                 Contingent
      Highlands Ranch       CO 80129
      ______________________________________                     Unliquidated
      City                   State ZIP Code                      Disputed
   Who owes the debt? Check one.                              Nature of lien. Check all that apply.
   
   X     Debtor 1 only                                        
                                                              X   An agreement you made (such as mortgage or secured
        Debtor 2 only                                            car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                            01/2017
   Date debt was incurred ____________                                                         3 ___
                                                              Last 4 digits of account number ___ 9 ___
                                                                                                     2 ___
                                                                                                        6
2.2                                                           Describe the property that secures the claim:                  $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                              As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                 Contingent
      ______________________________________                     Unliquidated
      City                          State   ZIP Code             Disputed
   Who owes the debt? Check one.                              Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                            car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                        Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                  1,145,797.00
                                                                                                                             $_________________


  Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property                                                                 1
                                                                                                                                                                page 1 of ___
                                     Case 3:18-bk-03184-CJJ                   Doc 19           Filed 09/03/18                  Page 20 of 66
 Fill in this information to identify your case:

 Debtor 1             Asbel                 P                     Viciedo
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: Middle District of Florida
                                         ______________________________________

                       9:18-bk-06560-FMD
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        
        X No. Go to Part 2.
         Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___             $_____________ $___________ $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
               No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     11
                                                                                                                                                          page 1 of ___
                    Asbel
                                    Case 3:18-bk-03184-CJJ
                                      P                  Viciedo
                                                                                Doc 19    Filed 09/03/18               Page 21 of 66
                                                                                                                               9:18-bk-06560-FMD
Debtor 1            _______________________________________________________                              Case number (if known)_____________________________________
                    First Name       Middle Name         Last Name


  Part 2:          List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.1
       1111 East Main Street, LLC
       _____________________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                            Unknown
                                                                                                                                                             $__________________
                                                                                     When was the debt incurred?           4/1/2016
                                                                                                                           ____________
       516 Avenida del Maiz
       _____________________________________________________________
       Number              Street

       South Bay                      FL      33493
       _____________________________________________________________
       City                                             State        ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                        Contingent
       Who incurred the debt? Check one.                                             
                                                                                     X   Unliquidated
       
       X      Debtor 1 only                                                             Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                   Student loans

             Check if this claim is for a community debt                               Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset?                                                  Debts to pension or profit-sharing plans, and other similar debts
       
       X      No                                                                     
                                                                                     X   Other. Specify Personal Guarantee on Commercial Lease
                                                                                                        ______________________________________
             Yes

4.2                                                                                  Last 4 digits of account number ___ ___ ___ ___                          Unknown
                                                                                                                                                             $__________________
       ABT Kelly Drive, LLC
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                   When was the debt incurred?           4/17/2015
                                                                                                                           ____________
       1638 Donna Rd.
       _____________________________________________________________
       Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
       West Palm Beach                FL      33409
       _____________________________________________________________
       City                                             State        ZIP Code
                                                                                        Contingent
       Who incurred the debt? Check one.                                             
                                                                                     X   Unliquidated

       
       X      Debtor 1 only
                                                                                        Disputed

             Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                   Student loans
                                                                                        Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                                that you did not report as priority claims
       Is the claim subject to offset?                                                  Debts to pension or profit-sharing plans, and other similar debts

       
       X      No                                                                     
                                                                                     X   Other. Specify Personal Guarantee on Commercial Lease
                                                                                                        ______________________________________

             Yes

4.3
       Anthony T. Derosa Revokable Trust
       _____________________________________________________________                                                  5 ___
                                                                                     Last 4 digits of account number ___ 1 ___
                                                                                                                            2 ___
                                                                                                                               6
       Nonpriority Creditor’s Name
                                                                                                                                                              755,000.00
                                                                                                                                                             $_________________
                                                                                     When was the debt incurred?           2/5/2018
                                                                                                                           ____________
       C/O Jorge Isaac, Esq. 9600 NW 25th St. Ste 2A
       _____________________________________________________________
       Number              Street

       Doral                          FL      33172
       _____________________________________________________________                 As of the date you file, the claim is: Check all that apply.
       City                                             State        ZIP Code

                                                                                        Contingent
       Who incurred the debt? Check one.
                                                                                        Unliquidated
             Debtor 1 only
                                                                                        Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
       
       X      At least one of the debtors and another
                                                                                        Student loans
             Check if this claim is for a community debt                               Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset?
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
       
       X      No
                                                                                     
                                                                                     X   Other. Specify Business  Related Debt
                                                                                                        ______________________________________
             Yes




  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            2 of ___
                                                                                                                                                                  page __   11
                   Asbel
                                 Case 3:18-bk-03184-CJJ
                                     P                  Viciedo
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Debtor 1           _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                            Total claim


4.4                                                                                                                        A ___
                                                                                          Last 4 digits of account number ___ - ___
                                                                                                                                 0 ___
                                                                                                                                    0
      Auto Bahn of Boca Raton, Inc
      _____________________________________________________________                                                                                                9,151.00
                                                                                                                                                                  $____________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          4/27/2018
                                                                                                                               ____________
      2540 NW Boca Raton Blvd
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Boca Raton                     FL      33431
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                   
                                                                                          X   Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                 Repair Services
                                                                                              Other. Specify________________________________
      
      X      No
            Yes



4.5
                                                                                                                           4 ___
                                                                                          Last 4 digits of account number ___ 9 ___
                                                                                                                                 5 ___
                                                                                                                                    4                              See 1
                                                                                                                                                                  $____________
      Automotive Capital Services Inc.
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          5/03/17
                                                                                                                               ____________
      See Attachment 2
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      West Palm Beach                FL      33401
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                   
                                                                                          X   Disputed
            Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
      
      X      At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                 See Attachment 3
                                                                                              Other. Specify________________________________
            No
      
      X      Yes


4.6                                                                                                                                                                116,323.00
                                                                                                                                                                  $____________
                                                                                                                           1 ___
                                                                                          Last 4 digits of account number ___ 2 ___
                                                                                                                                 1 ___
                                                                                                                                    1
      Bank  of Stockton
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          10/2014
                                                                                                                               ____________
      301 E. Miner Ave
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Stockton                       CA          95202
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                 Automobile Loan - Repossession
                                                                                              Other. Specify________________________________
            No
      
      X      Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                           3 of ___
                                                                                                                                                                  page __   11
                   Asbel
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Debtor 1           _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                            Total claim


4.7                                                                                       Last 4 digits of account number ___ ___ ___ ___
      Bryan Law, PA
      _____________________________________________________________                                                                                                20,000.00
                                                                                                                                                                  $____________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          ____________
      101 NE 3rd Ave, Ste 1500
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Fort Lauderdale                FL      33301
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                 Legal Services
                                                                                              Other. Specify________________________________
      
      X      No
            Yes



4.8
                                                                                                                           6 ___
                                                                                          Last 4 digits of account number ___ 7 ___
                                                                                                                                 5 ___
                                                                                                                                    5                              5,122.00
                                                                                                                                                                  $____________
      Capital One Bank
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          03/2008
                                                                                                                               ____________
      Attn: Bankrutpcy PO Box 30285
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Salt Lake City                 UT      84130
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                 Credit Card Charges
                                                                                              Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                                34,489.00
                                                                                                                                                                  $____________
                                                                                                                           1 ___
                                                                                          Last 4 digits of account number ___ 3 ___
                                                                                                                                 1 ___
                                                                                                                                    0
      Chase  Card Services
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          02/21
                                                                                                                               ____________
      Correspondence Dept PO Box 15298
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Wilmington                     DE          19850
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                 Credit Card Charges
                                                                                              Other. Specify________________________________
      
      X      No
            Yes




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Debtor 1            _______________________________________________________                                   Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                             Total claim


4.10                                                                                                                        4 ___
                                                                                           Last 4 digits of account number ___ 7 ___
                                                                                                                                  6 ___
                                                                                                                                     8
       Citi
       _____________________________________________________________                                                                                                29,000.00
                                                                                                                                                                   $____________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          11/2010
                                                                                                                                ____________
       Centralized Bankruptcy Dept. PO Box 790034
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       St. Louis                      MO      63179
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Credit Card Charges
                                                                                               Other. Specify________________________________
       
       X      No
             Yes



4.11
                                                                                                                            2 ___
                                                                                           Last 4 digits of account number ___ 5 ___
                                                                                                                                  9 ___
                                                                                                                                     1                              387,934.00
                                                                                                                                                                   $____________
       Creal Dallas, LLC
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          5/23/17
                                                                                                                                ____________
       C/O Paul D. Turner, Esq. 200 S. Andrews Ave, Ste 600
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Fort Lauderdale                FL      33301
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Business Related Debt
                                                                                               Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                                14,204.00
                                                                                                                                                                   $____________
                                                                                                                            6 ___
                                                                                           Last 4 digits of account number ___ 3 ___
                                                                                                                                  6 ___
                                                                                                                                     1
       Discover Financial Services
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          10/2010
                                                                                                                                ____________
       PO Box 3025
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       New Albany                     OH          43054
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Credit Card Charges
                                                                                               Other. Specify________________________________
       
       X      No
             Yes




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Debtor 1            _______________________________________________________                                   Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                             Total claim


4.13                                                                                                                        C ___
                                                                                           Last 4 digits of account number ___ A ___
                                                                                                                                  C ___
                                                                                                                                     E
       Frank Perez
       _____________________________________________________________                                                                                                30,000.00
                                                                                                                                                                   $____________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          4/26/18
                                                                                                                                ____________
       C/O Bruce Gottlieb 125 N. 46th Ave
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Hollywood                      FL      33021
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
       
       X      At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Judgment
                                                                                               Other. Specify________________________________
       
       X      No
             Yes



4.14
                                                                                                                            1 ___
                                                                                           Last 4 digits of account number ___ 9 ___
                                                                                                                                  9 ___
                                                                                                                                     8                              See 4
                                                                                                                                                                   $____________
       GH Financial Services, LLC
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          2/16/2018
                                                                                                                                ____________
       C/O Jocelyne A. Macelloni 7700 W. Camino Real, Ste 401
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Boca Raton                     FL      33433
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                   
                                                                                           X   Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
       
       X      At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Business Debt
                                                                                               Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                                50,000.00
                                                                                                                                                                   $____________
                                                                                           Last 4 digits of account number ___ ___ ___ ___
       Global Holdings Enterprises, Inc.
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          ____________
       150 Alhambra Circ. Suite 1200
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Coral Gables                   FL          33134
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Settlement of a Dispute
                                                                                               Other. Specify________________________________
       
       X      No
             Yes




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Debtor 1            _______________________________________________________                                   Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                             Total claim


4.16                                                                                       Last 4 digits of account number ___ ___ ___ ___
       Marie Martinez Life Estate
       _____________________________________________________________                                                                                                Unknown
                                                                                                                                                                   $____________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          12/20/2015
                                                                                                                                ____________
       7366 118th St.
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Jacksonville                   FL      32244
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Personal Guarantee on Commercial
                                                                                               Other. Specify________________________________             Lease
       
       X      No
             Yes



4.17
       Reyes Law Group, PA                                                                 Last 4 digits of account number ___ ___ ___ ___                          29,712.00
                                                                                                                                                                   $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          ____________
       150 South Pine Island Rd. Ste 210
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Plantation                     FL      33324
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Legal Services
                                                                                               Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                                900,000.00
                                                                                                                                                                   $____________
                                                                                                                            0 ___
                                                                                           Last 4 digits of account number ___ 7 ___
                                                                                                                                  7 ___
                                                                                                                                     8
       Riviera Recovery
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          9/29/2017
                                                                                                                                ____________
       C/O Winston Cuenant, Esq. 2550 N. Federal Highway, Ste 10
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Fort Lauderdale                FL          33305
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                   
                                                                                           X   Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
       
       X      At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Business related Debt
                                                                                               Other. Specify________________________________
       
       X      No
             Yes




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Debtor 1            _______________________________________________________                                   Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                             Total claim


4.19                                                                                       Last 4 digits of account number ___ ___ ___ ___
       Rogers Towers
       _____________________________________________________________                                                                                                19,240.00
                                                                                                                                                                   $____________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          ____________
       1301 Riverplace Blvd.
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Jacksonville                   FL      32207
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Legal Services
                                                                                               Other. Specify________________________________
       
       X      No
             Yes



4.20
                                                                                                                            5 ___
                                                                                           Last 4 digits of account number ___ 6 ___
                                                                                                                                  6 ___
                                                                                                                                     8                              253.00
                                                                                                                                                                   $____________
       Sequium
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          4/11/18
                                                                                                                                ____________
       1130 Northchase Pkwy Ste 150
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Marietta                       GA      30067
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 General Services
                                                                                               Other. Specify________________________________
       
       X      No
             Yes


4.21                                                                                                                                                                Unknown
                                                                                                                                                                   $____________
                                                                                           Last 4 digits of account number ___ ___ ___ ___
       Sharelle, Inc.
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          12/6/2013
                                                                                                                                ____________
       c/o Burkhardt Construction 1400 Alabama Lane, Ste 20
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       West Palm Beach                FL          33401
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Personal Guarantee on Commercial
                                                                                               Other. Specify________________________________             Lease
       
       X      No
             Yes




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Debtor 1            _______________________________________________________                                   Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                             Total claim


4.22                                                                                       Last 4 digits of account number ___ ___ ___ ___
       Silverio and Hall, PA
       _____________________________________________________________                                                                                                17,665.00
                                                                                                                                                                   $____________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          ____________
       150 W. Flagler St. Penthouse 2850
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Miami                          FL      33130
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Legal Services
                                                                                               Other. Specify________________________________
       
       X      No
             Yes



4.23
                                                                                                                            2 ___
                                                                                           Last 4 digits of account number ___ 1 ___
                                                                                                                                  8 ___
                                                                                                                                     0                              12,414.00
                                                                                                                                                                   $____________
       Space Coast Credit Union
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          07/2013
                                                                                                                                ____________
       Attn: Bankruptcy 8045 N. Wickham Rd
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Melbourne                      FL      32940
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                              Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Credit Card Charges
                                                                                               Other. Specify________________________________
       
       X      No
             Yes


4.24                                                                                                                                                                Unknown
                                                                                                                                                                   $____________
                                                                                           Last 4 digits of account number ___ ___ ___ ___
       The Leo Martinez Sr. Trust
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?          12/20/2015
                                                                                                                                ____________
       6054 Westconnett Blvd
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Jacksonville                   FL          32244
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                 Personal Guarantee on Commercial
                                                                                               Other. Specify________________________________             Lease
       
       X      No
             Yes




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Debtor 1       _______________________________________________________                             Case number (if known)_____________________________________
               First Name     Middle Name           Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     James N. Brown
     _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     1110 N. Olive Ave
     _____________________________________________________
                                                                            Line 4.4
                                                                                 _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                
                                                                                                          X Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                                                             A ___
                                                                            Last 4 digits of account number ___ - ___
                                                                                                                   0 ___
                                                                                                                      0
     West Palm Beach, Florida 33401
     _____________________________________________________
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                   Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                   Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                   Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                             Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                page 10    11
                                                                                                                                                           __ of ___
               Asbel
                            Case 3:18-bk-03184-CJJ
                                 P                  Viciedo
                                                                      Doc 19     Filed 09/03/18           Page 30 of 66
                                                                                                                  9:18-bk-06560-FMD
Debtor 1       _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________

                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        6,035,293.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         6,035,293.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page 11    11
                                                                                                                                                  __ of ___
                        Case 3:18-bk-03184-CJJ                 Doc 19        Filed 09/03/18   Page 31 of 66


                                              Attachment
                           Debtor: Asbel P Viciedo Case No: 9:18-bk-06560-FMD


Attachment 1
     2,604,786.00
Attachment 2
     C/O Patrick G. Broderick, Esq. Greenberg Traurig
     777 S. Flager Drive, Ste 300 E
Attachment 3
     Business Related Debt - Dealership Floor plan financing - personal guarantee
Attachment 4
     1,000,000.00
                                    Case 3:18-bk-03184-CJJ            Doc 19         Filed 09/03/18            Page 32 of 66


 Fill in this information to identify your case:

 Debtor               Asbel P Viciedo
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Middle District of Florida
 United States Bankruptcy Court for the:______________________________________

 Case number           9:18-bk-06560-FMD
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      American Honda Financing
      _____________________________________________________________________             Automobile Lease
      Name
      PO Box 168088
      _____________________________________________________________________
      Number     Street
      Irving Texas 75016
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
                                     Case 3:18-bk-03184-CJJ                      Doc 19        Filed 09/03/18    Page 33 of 66

 Fill in this information to identify your case:

 Debtor 1         Asbel  P Viciedo
                  __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Middle District of Florida
 United States Bankruptcy Court for the:_______________________________________

 Case number          9:18-bk-06560-FMD
                      ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      X    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         Hammerhead Motors, LLC
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         8310 Bama Lane
         ________________________________________________________________________________
                                                                                                          
                                                                                                          X Schedule E/F, line 4.12,
                                                                                                                                ______4.4
         Number             Street                                                                         Schedule G, line ______
         West Palm Beach                          Florida                  33411
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         Nutawood, LLC
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         110 Brickell Ave
         ________________________________________________________________________________
                                                                                                          
                                                                                                          X Schedule E/F, line 4.13
                                                                                                                                ______
         Number             Street                                                                         Schedule G, line ______
         Miami                                    Florida                  33131
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3      APV Trust, LLC
         ________________________________________________________________________________                  Schedule D, line ______
         Name
         10482 SW Tibre Ct.
         ________________________________________________________________________________
                                                                                                          
                                                                                                          X Schedule E/F, line 4.11,
                                                                                                                                ______4.2
         Number             Street                                                                         Schedule G, line ______
         Port St. Lucie                           Florida                  34987
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     2
                                                                                                                                                 page 1 of ___
                                Case 3:18-bk-03184-CJJ            Doc 19       Filed 09/03/18         Page 34 of 66
Debtor 1         Asbel  P Viciedo
                 _______________________________________________________                 Case number (if known)9:18-bk-06560-FMD
                                                                                                               _____________________________________
                 First Name      Middle Name   Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt

                                                                                               Check all schedules that apply:
3.4
       APV  Trust, LLC
       ________________________________________________________________________________         Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
       10482  SW Tibre Ct.
       ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
       Port St. Lucie                           Florida                  34987
       ________________________________________________________________________________
        City                                        State                   ZIP Code
3.5
       APV  Trust, LLC
       ________________________________________________________________________________         Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
       10482  SW Tibre Ct.
       ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
        Port St. Lucie                           Florida                  34987
        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.6
       Hammerhead     Motors, LLC
       ________________________________________________________________________________         Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
       8310  Bama Lane
       ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
       West  Palm Beach                         Florida                  33411
       ________________________________________________________________________________
        City                                        State                   ZIP Code
3.7
       Hammerhead     Motors, LLC
       ________________________________________________________________________________         Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
       8310  Bama Lane
       ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______
       West  Palm Beach                         Florida                  33411
       ________________________________________________________________________________
        City                                        State                   ZIP Code
3.8
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.9
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.10
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.11
        ________________________________________________________________________________        Schedule D, line ______
        Name
                                                                                               Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                   Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code




  Official Form 106H                                        Schedule H: Your Codebtors                                                    2 of ___
                                                                                                                                    page ___    2
                                  Case 3:18-bk-03184-CJJ            Doc 19           Filed 09/03/18        Page 35 of 66

 Fill in this information to identify your case:


 Debtor 1           Asbel  P Viciedo
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                                 Middle District of Florida
 United States Bankruptcy Court for the: ___________________________________________

 Case number         9:18-bk-06560-FMD
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                      Employed
     employers.                                                         Not employed                                 
                                                                                                                      XFillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Self Employed
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            __________________________________           __________________________________


                                          Employer’s address       ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______                                 _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              +    $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     0.00
                                                                                              $__________               0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
                                Case 3:18-bk-03184-CJJ                                   Doc 19              Filed 09/03/18               Page 36 of 66
Debtor 1          Asbel P Viciedo
                  _______________________________________________________                                                                         9:18-bk-06560-FMD
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.     $___________
                                                                                                                             0.00                   $_____________
                                                                                                                                                     0.00

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      0.00
                                                                                                                           $____________            $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________            $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________            $_____________
      5e. Insurance                                                                                                5e.      0.00
                                                                                                                           $____________            $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________            $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               +   $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      0.00
                                                                                                                           $____________             0.00
                                                                                                                                                    $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      0.00
                                                                                                                           $____________             0.00
                                                                                                                                                    $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
                                                                                                                            N/A
                                                                                                                           $____________             N/A
                                                                                                                                                    $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      N/A
                                                                                                                           $____________             N/A
                                                                                                                                                    $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           N/A                      N/A
                                                                                                                           $____________            $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      N/A
                                                                                                                           $____________             N/A
                                                                                                                                                    $_____________
      8e. Social Security                                                                                          8e.      N/A
                                                                                                                           $____________             N/A
                                                                                                                                                    $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                           $____________             0.00
                                                                                                                                                    $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.      N/A
                                                                                                                           $____________             N/A
                                                                                                                                                    $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             0.00                + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      0.00
                                                                                                                           $____________             0.00
                                                                                                                                                    $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                            0.00
                                                                                                                           $___________     +        0.00
                                                                                                                                                    $_____________       = $_____________
                                                                                                                                                                            0.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              Debtor only source of money for expenses were loans from family and friends
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      0.00
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
           No.
      
      X     Yes. Explain:        See Attachment 1


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                        Case 3:18-bk-03184-CJJ                  Doc 19        Filed 09/03/18          Page 37 of 66


                                              Attachment
                           Debtor: Asbel P Viciedo Case No: 9:18-bk-06560-FMD


Attachment 1
     Given the amount of litigation surrounding the Debtor's prior self employment venture the Debtor has turned to consulting and hopes to
     cultivate that into an income stream that will support the family.
                                  Case 3:18-bk-03184-CJJ                Doc 19         Filed 09/03/18             Page 38 of 66

 Fill in this information to identify your case:

 Debtor 1          Asbel P Viciedo
                   __________________________________________________________________
                                                                                                      Check if this is:
                     First Name              Middle Name              Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                                 Middle District of Florida
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         9:18-bk-06560-FMD
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                  Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                         age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    Son                                         9________
                                                                                                                                                   No
                                                                                    _________________________
    names.                                                                                                                                     
                                                                                                                                               X    Yes

                                                                                    daughter
                                                                                    _________________________                   8________          No
                                                                                                                                               
                                                                                                                                               X    Yes

                                                                                    daughter
                                                                                    _________________________                   6________          No
                                                                                                                                               
                                                                                                                                               X    Yes

                                                                                    _________________________                   ________           No
                                                                                                                                                   Yes

                                                                                    _________________________                   ________           No
                                                                                                                                                   Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                            Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                      4.
                                                                                                                                    10,618.00
                                                                                                                                   $_____________________

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.       N/A
                                                                                                                                   $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.       N/A
                                                                                                                                   $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.       100.00
                                                                                                                                   $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.       710.00
                                                                                                                                   $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                              page 1
                              Case 3:18-bk-03184-CJJ                  Doc 19      Filed 09/03/18       Page 39 of 66

Debtor 1         Asbel P Viciedo
                 _______________________________________________________                  Case number (if known)9:18-bk-06560-FMD
                                                                                                                _____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                5.
                                                                                                                      N/A
                                                                                                                     $_____________________


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     609.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     158.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     253.00
                                                                                                                     $_____________________
      6d.   Other. Specify: pest control
                            _______________________________________________                                   6d.     175.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      2,600.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      150.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     100.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      200.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     1,000.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    425.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    0.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    1,467.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    N/A
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    N/A
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    N/A
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    N/A
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    N/A
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    N/A
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
                              Case 3:18-bk-03184-CJJ                Doc 19         Filed 09/03/18           Page 40 of 66

Debtor 1         Asbel  P Viciedo
                 _______________________________________________________                      Case number (if known)9:18-bk-06560-FMD
                                                                                                                    _____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                          0.00

22.    Calculate your monthly expenses.
       22a. Add lines 4 through 21.
                                                                                                                          18,565.00
                                                                                                                         $_____________________
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.
                                                                                                                          18,565.00
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           0.00
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           18,565.00
      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           -18,565.00
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
                                  Case 3:18-bk-03184-CJJ                              Doc 19             Filed 09/03/18                    Page 41 of 66


 Fill in this information to identify your case:

 Debtor 1          Asbel                   P                     Viciedo
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: Middle District of Florida
                                         ______________________________________

 Case number         9:18-bk-06560-FMD
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 1,585,200.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 47,595.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 1,614,025.00
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 1,145,797.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +   $ 6,035,293.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 7,181,090.00
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 0.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 18,565.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                              Case 3:18-bk-03184-CJJ                   Doc 19         Filed 09/03/18             Page 42 of 66

Debtor 1         Asbel        P                Viciedo
                 _______________________________________________________                                                 9:18-bk-06560-FMD
                                                                                                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

    
    X Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                       Case 3:18-bk-03184-CJJ                Doc 19             Filed 09/03/18              Page 43 of 66

Fill in this information to identify your case:

Debtor 1          Asbel P Viciedo
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Middle District of Florida
                                        _______________________________________
Case number         9:18-bk-06560-FMD
                    ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    s/Asbel P Viciedo
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 09/03/2018
              _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
                                  Case 3:18-bk-03184-CJJ                Doc 19        Filed 09/03/18         Page 44 of 66


 Fill in this information to identify your case:

 Debtor 1          Asbel                   P                      Viciedo
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Middle District of Florida
                                         ____________________________________________

 Case number         9:18-bk-06560-FMD
                     ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married
       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1

               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
                             Case 3:18-bk-03184-CJJ                         Doc 19          Filed 09/03/18             Page 45 of 66

Debtor 1        Asbel P Viciedo
                _______________________________________________________                                  Case number (if known)9:18-bk-06560-FMD
                                                                                                                               _____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            90,000.00
                                                                                         $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                            
                                                            X    Operating a business                                Operating a business


            For last calendar year:                             Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            105,000.00
                                                                                         $________________            bonuses, tips           $________________
            (January 1 to December 31, 2017
                                       _________)           
                                                            X    Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          235,000.00
                                                                                         $________________                                    $________________
            (January 1 to December 31, 2016
                                       _________)           
                                                            X    Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X     No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
                             Case 3:18-bk-03184-CJJ                      Doc 19        Filed 09/03/18           Page 46 of 66

Debtor 1       Asbel P Viciedo
               _______________________________________________________                                                   9:18-bk-06560-FMD
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     X     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               
               X    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
                                   Case 3:18-bk-03184-CJJ                   Doc 19        Filed 09/03/18            Page 47 of 66

Debtor 1           Asbel P Viciedo
                   _______________________________________________________                                                   9:18-bk-06560-FMD
                                                                                                       Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X     No
          Yes. List all payments to an insider.
                                                                         Dates of      Total amount      Amount you still   Reason for this payment
                                                                         payment       paid              owe


            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code



            ____________________________________________                              $____________ $____________
                                                                       _________
            Insider’s Name

            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X     No
          Yes. List all payments that benefited an insider.
                                                                        Dates of        Total amount     Amount you still   Reason for this payment
                                                                        payment         paid             owe
                                                                                                                            Include creditor’s name

            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code




            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
                               Case 3:18-bk-03184-CJJ                             Doc 19         Filed 09/03/18             Page 48 of 66

Debtor 1        Asbel P Viciedo
                _______________________________________________________                                        Case number (if known)9:18-bk-06560-FMD
                                                                                                                                     _____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X     Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  Breach of Contractr
                      Auto Bahn of Boca Raton,
            Case title_____________________________
                                                                                                        15th Judicial Circuit
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                        
                                                                                                                                                        X   Pending

                                                                                                                                                           On appeal
            Inc. v. Asbel Viciedo
            ____________________________________                                                        205 N Dixie Hwy
                                                                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number See  Attachment 1
                        ________________________                                                        West  Palm Beach FL       33401
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code

                                                                  Business Transaction
                                                                                                        15th Judicial Circuit Court
                                                                                                        ________________________________________        
                                                                                                                                                        X   Pending
                      GH Financial Services, LLC
            Case title_____________________________                                                     Court Name
                                                                                                                                                           On appeal
            v. Hammerhead Motors, et al
            ____________________________________                                                        205 N Dixie Hwy
                                                                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number See  Attachment 2
                        ________________________                                                        West  Palm Beach FL       33401
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code
                                                                                                                                          See Attachment 3
 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

          No. Go to line 11.
     
     X     Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property

                                                                            2011 Rolls Royce Ghost
                 Bank  of Stockton
                 _________________________________________                                                                              7/2/2018
                                                                                                                                        __________      112,500.00
                                                                                                                                                       $______________
                 Creditor’s Name


                 301 E. Miner Ave
                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                              
                                                                              X    Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 Stockton               CA 95202
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1          Asbel P Viciedo
                  _______________________________________________________                                                      9:18-bk-06560-FMD
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
                                  Case 3:18-bk-03184-CJJ                           Doc 19          Filed 09/03/18               Page 50 of 66

Debtor 1           Asbel P Viciedo
                   _______________________________________________________                                      Case number (if known)9:18-bk-06560-FMD
                                                                                                                                      _____________________________________
                   First Name      Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                    Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                    contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________



           _____________________________________
           City           State     ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X     No
          Yes. Fill in the details.

            Describe the property you lost and how                  Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                                lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or     Amount of payment
            Abacus Credit Counseling                                                                                                     transfer was made
            ___________________________________
            Person Who Was Paid

            17337  Ventura Boulevard
            ___________________________________
            Number       Street
                                                                                                                                         08/06/18
                                                                                                                                         _________            25.00
                                                                                                                                                             $_____________

            Suite 205
            ___________________________________
                                                                                                                                         _________           $_____________
            Encino              CA 91316
            ___________________________________
            City                        State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
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Debtor 1           Asbel P Viciedo
                   _______________________________________________________                                     Case number (if known)9:18-bk-06560-FMD
                                                                                                                                     _____________________________________
                   First Name       Middle Name              Last Name




                                                                     Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                      transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                      _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                      _________             $_____________
            ____________________________________

            ____________________________________
            City                         State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                     Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                      transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                      _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                      _________             $____________

            ____________________________________
            City                         State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X     No
          Yes. Fill in the details.

                                                                     Description and value of property         Describe any property or payments received      Date transfer
                                                                     transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                                _________
            Number       Street

            ___________________________________

            ___________________________________
            City                         State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                               _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                         State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1           Asbel P Viciedo
                   _______________________________________________________                                                            9:18-bk-06560-FMD
                                                                                                                Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of the property transferred                                         Date transfer
                                                                                                                                                              was made


                                                                                                                                                              _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     X     No
          Yes. Fill in the details.

                                                                    Last 4 digits of account number        Type of account or       Date account was       Last balance before
                                                                                                           instrument               closed, sold, moved,   closing or transfer
                                                                                                                                    or transferred
            ____________________________________
            Name of Financial Institution
                                                                        XXXX–___ ___ ___ ___               Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                            Savings
            ____________________________________                                                            Money market
            ____________________________________
                                                                                                            Brokerage
            City                        State    ZIP Code                                                   Other__________

            ____________________________________                        XXXX–___ ___ ___ ___               Checking               _________              $___________
            Name of Financial Institution
                                                                                                            Savings
            ____________________________________
            Number       Street                                                                             Money market
            ____________________________________                                                            Brokerage
            ____________________________________                                                            Other__________
            City                        State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     X     No
          Yes. Fill in the details.
                                                                        Who else had access to it?                    Describe the contents                       Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                  
                                                                                                                                                                  X   No
            ____________________________________
            Name of Financial Institution
                                                                   _______________________________________
                                                                   Name
                                                                                                                                                                     Yes

            ____________________________________                   _______________________________________                                                        
            Number       Street                                    Number      Street
            ____________________________________
                                                                   _______________________________________
                                                                   City          State      ZIP Code
            ____________________________________
            City                        State    ZIP Code



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 9
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Debtor 1            Asbel P Viciedo
                    _______________________________________________________                                               Case number (if known)9:18-bk-06560-FMD
                                                                                                                                                _____________________________________
                    First Name       Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    X      No
          Yes. Fill in the details.
                                                                      Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                           have it?


             ___________________________________                      _______________________________________                                                                No
             Name of Storage Facility                                 Name                                                                                                   Yes
             ___________________________________                      _______________________________________                                                               
             Number       Street                                      Number    Street

             ___________________________________                      _______________________________________
                                                                      City State ZIP Code
             ___________________________________
             City                         State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     X   No
          Yes. Fill in the details.
                                                                     Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                               $__________
                                                                    _________________________________________
             ___________________________________                    Number     Street
             Number        Street
                                                                    _________________________________________
             ___________________________________
                                                                    _________________________________________
             ___________________________________                    City                             State     ZIP Code
             City                         State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     X     No
          Yes. Fill in the details.
                                                                      Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                     _______________________________                                                                    _________
            Name of site                                             Governmental unit

            ____________________________________                     _______________________________
            Number       Street                                      Number    Street

                                                                     _______________________________
            ____________________________________                     City                   State   ZIP Code


            ____________________________________
            City                        State      ZIP Code



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
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Debtor 1           Asbel P Viciedo
                   _______________________________________________________                                               Case number (if known)9:18-bk-06560-FMD
                                                                                                                                               _____________________________________
                   First Name       Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     X     No
          Yes. Fill in the details.
                                                                    Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                   _______________________________
            Name of site                                           Governmental unit
                                                                                                                                                                          _________

            ____________________________________                   _______________________________
            Number        Street                                   Number     Street


            ____________________________________                   _______________________________
                                                                   City                  State    ZIP Code
            ____________________________________
            City                         State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     X     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                     Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title______________________________
                                                                     ________________________________
                                                                     Court Name
                                                                                                                                                                           Pending
           ______________________________________
                                                                                                                                                                           On appeal
                                                                     ________________________________
                                                                     Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                               ________________________________
                                                                     City                        State   ZIP Code
                                                                                                                                                                          

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           
           X    A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     X     Yes. Check all that apply above and fill in the details below for each business.
                                                                     Describe the nature of the business                                Employer Identification number
            Only Used Trucks Lakeland, LLC
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name
                                                                   Used Trucks Sales
            111 E. Main St.
            ____________________________________
                                                                                                                                              8 ___
                                                                                                                                        EIN: ___ 1 – ___
                                                                                                                                                      1 ___
                                                                                                                                                         9 ___
                                                                                                                                                            2 ___
                                                                                                                                                               9 ___
                                                                                                                                                                  2 ___
                                                                                                                                                                     9 ___
                                                                                                                                                                        6
            Number        Street
                                                                     Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________                   None
                                                                                                                                        From3/21/2016
                                                                                                                                               _______ To5/1/2017
                                                                                                                                                          _______
            Lakeland            FL 33801
            ____________________________________
            City                         State    ZIP Code

                                                                     Describe the nature of the business                                Employer Identification number
            Only Used Trucks Broward, LLC
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name
                                                                   Used Truck Sales
            357 Kelly Drive
            ____________________________________
                                                                                                                                              _ ___
                                                                                                                                        EIN: ___ _ – ___
                                                                                                                                                      _ ___
                                                                                                                                                         _ ___
                                                                                                                                                            _ ___
                                                                                                                                                               _ ___
                                                                                                                                                                  _ ___
                                                                                                                                                                     _ ___
                                                                                                                                                                        _
            Number        Street
                                                                     Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________                   None
            West  Palm Beach FL 33411                                                                                                         _______ To See
                                                                                                                                        From03/17/2016   _______
            ____________________________________
            City                         State    ZIP Code


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Debtor 1           Asbel P Viciedo
                   _______________________________________________________                                      Case number (if known)9:18-bk-06560-FMD
                                                                                                                                      _____________________________________
                   First Name       Middle Name              Last Name




                                                                                                                              Employer Identification number
                                                                     Describe the nature of the business
            See Attachment 5                                                                                                  Do not include Social Security number or ITIN.
            ____________________________________
            Business Name                                          Used Truck Sales
                                                                                                                                    8 ___
                                                                                                                              EIN: ___ 1 – ___
                                                                                                                                            0 ___
                                                                                                                                               8 ___
                                                                                                                                                  0 ___
                                                                                                                                                     8 ___
                                                                                                                                                        5 ___
                                                                                                                                                           1 ___
                                                                                                                                                              2
            6021 Blanding Blvd
            ____________________________________
            Number        Street
                                                                     Name of accountant or bookkeeper                         Dates business existed

            ____________________________________                   None
            Jacksonville        FL 32244
            ____________________________________                                                                              From04/28/2016
                                                                                                                                    _______ To05/01/2017
                                                                                                                                               _______
            City                         State    ZIP Code

                                                                                                                                                 See Attachment 6

 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X     No
          Yes. Fill in the details below.

                                                                     Date issued



            ____________________________________                     ____________
            Name                                                     MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                         State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      s/Asbel P Viciedo
            ______________________________________________                         _____________________________
            Signature of Debtor 1                                                      Signature of Debtor 2


                 09/03/2018
            Date ________________                                                      Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
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                                           Attachment   (1/2)
                          Debtor: Asbel P Viciedo Case No: 9:18-bk-06560-FMD


Attachment 1
     50-2018-CA-005193-XXXX-MB
Attachment 2
     50-2018-CA-001998-XXXX-MB
Attachment 3 Additional Lawsuits, Court Actions, or Administrative Proceedings
     Case Title: Riviera Recovery v. Asbel Viciedo
     Case Number: 50-2017-CA-010778-XXXX-MB
     Nature of Case: Collection
     Court or Agency’s Name: 15th Judicial Circuit Court
     Court or Agency’s Address: 205 N Dixie Hwy, West Palm Beach, Florida 33401
     Status of Case: Pending

     Case Title: Automotive Capital Services v. Hammerhead Motors, et al
     Case Number: 50-2017-CA-004954-XXXX-MB
     Nature of Case: Breach of Contract
     Court or Agency’s Name: 15th Judicial Circuit Court
     Court or Agency’s Address: 205 N Dixie Hwy, West Palm Beach, Florida 33401
     Status of Case: Pending

     Case Title: Frank Perez v. APV Trust, et al
     Case Number: CACE12002745
     Nature of Case: Breach of Contract
     Court or Agency’s Name: 17th Judicial Circuit Court
     Court or Agency’s Address: 201 SE 6th St, Fort Lauderdale, Florida 33301
     Status of Case: Concluded

     Case Title: Anthony Derosa Trustee v. Asbel Viciedo et al
     Case Number: 2016-005126-CA-01
     Nature of Case: Collection Action
     Court or Agency’s Name: 11th Judicial Circuit Court
     Court or Agency’s Address: 175 NW 1st Ave, Miami, Florida 33128
     Status of Case: Pending

Attachment 4
     05/01/2017
Attachment 5
     Only Used Trucks Jacksonville.com, LLC
Attachment 6
     Additional Businesses Debtor Has or Had an Interest In:
     Business Name: Only Used Trucks Service Center, LLC
     Address: 357 Kelly Drive, West Palm Beach, Florida 33411
     Nature of Business: Truck Servicing
     Accountant or Bookkeeper: None
     EIN: XX-XXXXXXX
     Business Existed From: 4/28/2016 to 05/01/2017

     Business Name: Hammerhead Motors, LLC
     Address: 8310 Bama Lane, West Palm Beach, Florida 33411
     Nature of Business: Used Care Sales
     Accountant or Bookkeeper: None
     EIN: XX-XXXXXXX
     Business Existed From: 11/29/2012 to 5/1/2017
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                  Attachment   (2/2)
 Debtor: Asbel P Viciedo Case No: 9:18-bk-06560-FMD
                                 Case 3:18-bk-03184-CJJ                         Doc 19      Filed 09/03/18           Page 58 of 66

Fill in this information to identify your case:

Debtor 1           Asbel P Viciedo
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                        Middle District Of Florida
United States Bankruptcy Court for the: _______________________________________

Case number         9:18-bk-06560-FMD
                    ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.                          
                                                                                                                                         X No
          name:      Specialized Loan Servicing
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                    
                                                                                      X Retain the property and enter into a
          securing debt: Homestead                                                       Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________
   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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Your name      Asbel P Viciedo
               ______________________________________________________                                                 9:18-bk-06560-FMD
                                                                                                Case number (If known)_____________________________________
               First Name           Middle Name      Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                   Will the lease be assumed?

     Lessor’s name:                      
                              American Honda Financing                                                                   No
                                                                                                                        
                                                                                                                        X Yes
     Description of leased
     property:
                   Automobile Lease

     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
     Description of leased                                                                                               Yes
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



 s/Asbel P Viciedo
      ___________________________________________                  ___________________________________________
     Signature of Debtor 1                                           Signature of Debtor 2

          09/03/2018
     Date _________________                                          Date _________________
            MM /    DD   /   YYYY                                         MM /   DD /   YYYY




 Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                          page 2
                                  Case 3:18-bk-03184-CJJ               Doc 19         Filed 09/03/18             Page 60 of 66
 Fill in this information to identify your case:                                                      Check one box only as directed in this form and in
                                                                                                      Form 122A-1Supp:
 Debtor 1          Asbel P Viciedo
                   __________________________________________________________________
                     First Name             Middle Name               Last Name
                                                                                                      
                                                                                                      X   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name                          2. The calculation to determine if a presumption of
                                                                                                             abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA
                                         ____________________________________________
                                                                                                             Means Test Calculation (Official Form 122A–2).
 Case number         9:18-bk-06560-FMD
                     ___________________________________________                                         3. The Means Test does not apply now because of
 (If known)                                                                                                  qualified military service but it could apply later.


                                                                                                       Check if this is an amended filing
                                                                                   82,912.00

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      Not married. Fill out Column A, lines 2-11.
     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      Married and your spouse is NOT filing with you. You and your spouse are:
        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A              Column B
                                                                                                      Debtor 1              Debtor 2 or
                                                                                                                            non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                   $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                             $_________            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                           $_________            $__________

 5. Net income from operating a business, profession,
                                                                   Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                            $______    $______
                                                                               _         _
     Ordinary and necessary operating expenses                    –   $______ –_ $______ _
                                                                                               Copy
     Net monthly income from a business, profession, or farm          $______     $______ here        $_________            $__________

 6. Net income from rental and other real property                 Debtor 1       Debtor 2
    Gross receipts (before all deductions)                            $______   $______
                                                                              _         _
     Ordinary and necessary operating expenses                    –   $______ – $______
                                                                              _         _
                                                                                               Copy
     Net monthly income from rental or other real property            $______     $______ here        $_________            $__________
 7. Interest, dividends, and royalties                                                                 $_________            $__________



Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                      page 1
                                        Case 3:18-bk-03184-CJJ                                              Doc 19     Filed 09/03/18           Page 61 of 66


Debtor 1             Asbel P Viciedo
                     _______________________________________________________                                                    Case number (if known)9:18-bk-06560-FMD
                                                                                                                                                      _____________________________________
                     First Name              Middle Name                      Last Name



                                                                                                                                   Column A                  Column B
                                                                                                                                   Debtor 1                  Debtor 2 or
                                                                                                                                                             non-filing spouse

 8. Unemployment compensation                                                                                                        $__________                $___________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ................................ 
           For you ....................................................................................   $______________
           For your spouse ....................................................................           $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                           $__________                $___________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

        ______________________________________                                                                                       $_________                 $___________
        ______________________________________                                                                                       $_________                 $___________
        Total amounts from separate pages, if any.                                                                                + $_________               + $___________
 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                              $_________
                                                                                                                                                         +      $___________
                                                                                                                                                                                    =   $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

 Part 2:            Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.        Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here      $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                   x 12
     12b.        The result is your annual income for this part of the form.                                                                                                 12b.   $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.

     Fill in the number of people in your household.

     Fill in the median family income for your state and size of household. ................................................................................................. 13.   $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?

     14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3.

     14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.

 Part 3:             Sign Below


                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                    s/Asbel P Viciedo
                          __________________________________________________________                                         ______________________________________
                          Signature of Debtor 1                                                                               Signature of Debtor 2

                         Date 09/03/2018
                              _________________                                                                               Date _________________
                              MM / DD / YYYY                                                                                       MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
¯¯¯¯¯
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.


Official Form 122A-1                                                   Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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    Fill in this information to identify your case:


    Debtor 1         Asbel P Viciedo
                     __________________________________________________________________
                        First Name               Middle Name            Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name               Middle Name            Last Name


    United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA
                                            ____________________________________________

    Case number         9:18-bk-06560-FMD
                        ___________________________________________
    (If known)

                                                                                                          Check if this is an amended filing


Official Form 122A─1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                          12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).


Part 1:          Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).
     
     X    No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
              submit this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.


Part 2:          Determine Whether Military Service Provisions Apply to You

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                  No. Go to line 3.
                  Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                              Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
     No. Complete Form 122A-1. Do not submit this supplement.
     Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
        No. Complete Form 122A-1. Do not submit this supplement.
        Yes. Check any one of the following categories that applies:
                    I was called to active duty after September 11, 2001, for at least         If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                         Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                check box 3, The Means Test does not apply now, and
                    I was called to active duty after September 11, 2001, for at least
                                                                                                sign Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                Form 122A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                Official Form 122A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.          exclusion period means the time you are on active duty
                                                                                                or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,              540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days
                                                                                                If your exclusion period ends before your case is closed,
                     before I file this bankruptcy case.
                                                                                                you may have to file an amended form later.


Official Form 122A-1Supp                           Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                              page 1
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B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                                       MIDDLE DISTRICT OF FLORIDA
                                                         JACKSONVILLE DIVISION


In re Asbel P Viciedo

                                                                                                Case No. ___________________
                                                                                                         9:18-bk-06560-FMD

Debtor                                                                                          Chapter 7____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              2,500.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                            0.00

     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                              2,500.00

2.   The source of the compensation paid to me was:

           X Debtor                                  Other (specify)

3.   The source of compensation to be paid to me is:

           X Debtor                                  Other (specify)

4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]
          Adversary and contested matter require additional fee agreement




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           September 3, 2018
           ______________________               s/Paul Decailly
           Date                                     Signature of Attorney

                                                DeCailly Law Group, PA
                                                    Name of law firm
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                                                 UNITED STATES BANKRUPTCY COURT
                                                         Middle District of Florida
                                                          Jacksonville Division

                                     STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. § 341



INTRODUCTION

            Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Bankruptcy
Administrator has prepared this information sheet to help you understand some of the possible consequences
of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of -
            (1) the potential consequences of seeking a discharge in bankruptcy,
                  including the effects on credit history;
            (2) the effect of receiving a discharge of debts in bankruptcy;
            (3) the effect of reaffirming a debt; and
            (4) your ability to file a petition under a different chapter of the Bankruptcy
                  Code.
            There are many other provisions of the Bankruptcy Code that may affect your situation. This
statement contains only general principles of law and is not a substitute for legal advice. If you have any
questions or need further information as to how the bankruptcy laws apply to your specific case, you should
consult with your lawyer.

WHAT IS A DISCHARGE?

           The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you
listed in your bankruptcy schedules. A discharge is a court order that says that you do not have to repay your
debts, but there are a number of exceptions. Debts which usually may not be discharged in your chapter 7
case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and
restitution; debts obtained through fraud or deception; debts which were not listed in your bankruptcy
schedules; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may
be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make
a false oath. Creditors cannot ask you to repay debts which have been discharged. You can only receive a
chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?

           The fact that you filed bankruptcy can appear on your credit report for as long as 10 years.
Thus, filing a bankruptcy petition may affect your ability to obtain credit in the future. Also, you may not be
excused from repaying debts that were not listed on your bankruptcy schedules or that you incurred after you
filed bankruptcy. There are exceptions to this general statement. See your lawyer if you have questions.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

           After you file your bankruptcy petition, a creditor may ask you to reaffirm a certain debt or you
may seek to do so on your own. Reaffirming a debt means that you sign and file with the court a legally
enforceable document which states that you promise to repay all or a portion of the debt that may otherwise
have been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court
sixty (60) days after the first meeting of creditors.
           Reaffirmation agreements are strictly voluntary. They are not required by the Bankruptcy Code
or other state or federal law. You can voluntarily repay any debt instead of signing a reaffirmation agreement,
but there may be valid reasons for wanting to reaffirm a particular debt. This is particularly true when property
you wish to retain is collateral for a debt.
           Reaffirmation agreements must not impose an undue burden on you or your dependents and
must be in your best interest. If you decide to sign a reaffirmation agreement, you may cancel it at any time
before the court issues an order of discharge or within sixty (60) days after you filed the reaffirmation agreement
with the court, whichever is later.
           If you reaffirm a debt and fail to make the payments as required in the reaffirmation agreement,
the creditor can take action against you to recover any property that was given as security for the loan and you
may remain personally liable for any deficiency. In addition, creditors may seek other remedies, such as
garnishment of wages.

OTHER BANKRUPTCY OPTIONS
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           You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs.
Even if you have already filed for relief under chapter 7, you may be eligible to convert your case to a different
chapter.
           Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is
appointed to collect and sell, if economically feasible, all property you own that is not exempt from these
actions.
           Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also
available to individuals. Creditors vote on whether to accept or reject a plan, which also must be approved by
the court. While the debtor normally remains in control of the assets, the court can order the appointment of
a trustee to take possession and control of the business.
           Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers
must propose a plan to repay their creditors over a three-to-five year period and it must be approved by the
court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors' farming
operations during the pendency of the plan.
           Finally, chapter 13 generally permits individuals to keep their property by repaying creditors
out of their future income. Each chapter 13 debtor writes a plan which must be approved by the bankruptcy
court. The debtors must pay the chapter 13 trustee the amount set forth in their plan. Debtors receive a
discharge after they complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with
regular income whose debts do not exceed $1,000,000 ($250,000 in unsecured debts and $750,000 in secured
debts).

       AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR
EXPLANATION, INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

          By signing below, I/we acknowledge that I/we have received a copy of this document, and that
I/we have had an opportunity to discuss the information in this document with an attorney of my/our choice.



Date    September 3, 2018                                           s/Asbel P Viciedo
                                                                    Asbel P Viciedo




                                                                    2
